2:17-cv-00194-kjd Document 140-5 Filed 03/06/20 Pageiof7

EXHIBIT 3
2:17-cv-00194-kjd Document 140-5 Filed 03/06/20 Page 2 EXHIBIT

3

UNITED STATES DISTRICT COURT
DISTRICT OF VERMONT

MISTY BLANCHETTE PORTER,
M.D.,

Plaintiff,

Vv. Docket No. 5:17-cv-194

MEDICAL CENTER,
DARTMOUTH-HITCHCOCK
CLINIC, MARY HITCHCOCK
MEMORIAL HOSPITAL, and
DARTMOUTH-HITCHCOCK
HEALTH,

)
)
)
)
)
DARTMOUTH-HITCHCOCK )
)
)
)
)
)
)
)
Defendants. )

DECLARATION OF MICHELLE RUSSELL, M.D., INSUPPORT OF PLAINTIFF’S
OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

I, Michelle Russell, M.D., do hereby depose and state as follows under oath:

1. lam currently employed by Dartmouth-Hitchcock Medical Center (“(DHMC”) as a
physician in the Department of Obstetrics and Gynecology. I have been employed at
DHMC since 2005. I am a specialist in maternal-fetal medicine, which focuses on
patients with high-risk pregnancies.

2. I worked with Dr. Misty Blanchette Porter from 2005 until Dr. Porter’s termination in
June 2017,

3. J also worked with Dr. Albert Hsu, who was hired into the REI division of the OB/GYN
Department in 2014 or so.

4. I did not work much with Dr. David Seifer, although I was familiar enough to have an
10.

2:17-cv-00194-kjd Document 140-5 Filed 03/06/20 Page 3of7

impression of him. My office was close to his, so I could hear him on the phone with
patients on a regular basis. I could also hear Dr. Hsu on the phone with patients. On a
fairly regular basis, I heard both Dr. Hsu and Dr. Seifer say things to patients that didn’t
sound right, including seemingly incorrect advice.

My recollection is that Dr. Seifer was not employed at DHMC for very long. My overall
impression was that he was not a strong clinician.

Dr. Porter is an outstanding physician. She has a broad range of skills, including the
ability to perform complex surgery and read difficult ultrasounds. She was our go-to
person for complex benign GYN surgeries, such as myomectomies (removal of uterine
fibroids). Many general GYN surgery cases went to Dr. Porter.

I relied on Dr. Porter’s expertise on a regular basis. As one example, I relied on Dr.
Porter for help interpreting first-trimester ultrasounds, particularly when they were
challenging, such as a pregnancy in an unusual location or a uterine anomaly. We all
used Dr. Porter a lot for first trimester ultrasounds, for a second set of eyes on anything
that didn’t look textbook normal. For example, Dr. Porter was excellent at interpreting
uterine anomalies, which can affect pregnancy.

Since Dr. Porter’s termination, no one else in the OB/GYN Department has been able to
replace her ultrasound skills. It has been a big loss for the department.

In my judgment, Dr. Hsu was not qualified for his position in the REI Division. He was
friendly but he lacked the basic skills of a physician. It was as if he was a first-year
resident rather than an attending physician who had completed a fellowship in REI.
After DHMC announced the closure of the REI Division, I attended a meeting with Dr.

Merrens and the members of the OB/GYN Department. The meeting was held to address
2:17-cv-00194-kjd Document 140-5 Filed 03/06/20 Page 4of7

the closure of the REI Division. The meeting was held in Auditorium A and B. Dr.
Merrens led the meeting. Dr. Merrens said that the REI Division was closed due to
problems recruiting adequate nursing staff for the division. He then began discussing
personnel and the termination of three physicians in conjunction with the closure. When
he began discussing personnel, I raised my hand (I was seated towards the front) and
asked Dr. Merrens why Dr. Porter had been terminated. I said something like, “I can
understand why the other two needed to leave, but why Misty?” Dr. Merrens responded
by saying that Misty was “on disability.” I specifically recall him using the word
“disability” in his response, because I was so shocked that he said that. I said something
like, “but she was coming back,” and Dr. Merrens moved on to a different subject.

11. Other members of the department were at the meeting. Elizabeth Todd, a nurse
practitioner from the REI Division, was there, and I recall seeing her start to cry when I
brought up the topic of Dr. Porter. Elizabeth Todd worked in the REI Division for many
years and was not terminated when the division was closed.

12. The impact on the OB/GYN Department of losing Dr. Porter has been tremendous. Dr.
Porter was able to provide REI consults for patients in other divisions. She was also
outstanding at adolescent gynecology, which no one else in the Department specializes
in. No one has been able to replace Dr. Porter’s surgical skills for complex gynecological
surgery. While other physicians can do the surgery, it is not at the same level, plus we
now have one fewer physician to handle these cases. One way to track skill level in
surgery is by looking at complication rates from the surgery. Dr. Porter’s complication
rates were always very low.

13. I was aware of the nursing problems in the REI Division, but the problems seemed
14.

2:17-cv-00194-kjd Document 140-5 Filed 03/06/20 Page 5of7

solvable. Many areas of DHMC have nursing shortages and the problems in the REI
Division did not seem different from what I observed in other areas. I was aware that
Sharon Parent wanted to continue working on a part-time basis after her retirement, but
DHMC did not allow it. I don’t understand why DHMC did not allow Sharon to return
on a part-time basis, as this would have helped to solve the nursing shortage. In my
opinion, the nursing problems in the REI Division were solvable.

I can recall a case in which Dr. Hsu provided substandard care to a patient, which
resulted directly in the patient losing her pregnancy at 26 weeks. Dr. Hsu failed to notice
the medical history of the patient, which included a history of thyroid cancer and a family
history of thyroid cancer. The standard of care is to send a patient with this history to a
maternal-fetal medicine specialist — like me — before beginning fertility treatments. A
history of thyroid cancer points to certain specific elevated risk factors during pregnancy,
and, in fact, the patient had a particular condition that resulted in complications during
pregnancy. Thyroid function is an endocrine issue, and “REI” stands for reproductive
endocrinology and infertility, so it’s generally within the scope of an REI physician’s
understanding. The patient’s condition would have been treatable pre-pregnancy,
although it unfortunately was not diagnosed until after the baby was delivered pre-term
and did not survive. Dr. Hsu failed to connect the dots with this patient’s medical
history, and he failed to bring in a specialist for a consult before getting the patient
pregnant. Tragically, the patient delivered the baby at 26 weeks as a result of the
untreated condition and the baby did not survive. If Dr. Hsu had been able to connect the
dots between the patient’s medical history and the need for a consult, this tragedy could

have been avoided. I have seen a lot of difficult situations in my work but this one has
15,

16.

2:17-cv-00194-kjd Document 140-5 Filed 03/06/20 Page 6of7

really stayed with me as an avoidable tragedy.

In all my years of practice, I have never heard of a hospital shutting down a division, like
what DHMC did to the REI Division. When I was in medical school (not at Dartmouth),
some groups of physicians left various groups, which required restructuring. Even then,
the divisions were not shut down. In an academic setting like DHMC, it’s even more
important not to shut down a division, since it compromises the training of residents.

I have worked with many physicians, residents, and fellows during my career, and Dr.
Seifer and Dr. Hsu were outliers in terms of clinical deficiencies. Dr. Hsu didn’t have

necessary skill level, and the additional training he received
om Dr Porter did Hot seeih to improve. its abifities. ’

When I sent consults to Dr. Seifer, his consults were not at
the level of other REIs that I have worked with, despite his
many years of experience. He certainly did not have the
competency needed to be a division director.

i7. The nursing staff found it incredibly difficult to work with
Dr. Seifer and Dr. Hsu. My office was close to the REI
ultrasound rooms so I interacted with the REI staff on a
regular basis.

is. | heard from residents that they were anxious about going
into surgery with Dr. Hsu. I am aware of at least one
situation when Dr. Porter was called into the OR to fix a
series of problems that occurred when Dr. Hsu was
operating.

i9. Dr. Porter did a lot of work that was related to fertility
preservation that went beyond the scope of an IVF practice.
For example, she knew how to provide treatment to
pediatric or adolescent patients to preserve fertility, such as
in the case of a vaginal septum or uterine anomaly that
required treatment or surgery. Fertility preservation is an
important area of medical care for OB/GYN patients,
regardless of whether DH scaled back its [VF program or
temporarily paused the IVF services.

I declare under penalty of perjury that the for egoing is true and
correct.

Dated this sth day of March, 2020 at Norwich,

Vermont

RASCAL AMA Nassar W1oNA YN
AVAIVLINIIY sAUSSCu, LYLE’,
